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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

GLENN HOWELL,                        )
                                     )
      Plaintiff,                    )
                                    ) CIVIL ACTION
v.                                  ) NO: 1:20-cv-02662-WMR
                                    )
                                    )
VICTOR HILL,                        )
                                    )
      Defendant.                    )
________________________________________________________________________
                                   ORDER

      This civil rights case is before the Court on Defendant Victor Hill’s

Motion for Summary Judgment. [Doc. 64]. Upon consideration of the parties’

arguments, applicable law, and all appropriate matters of record, and after

oral argument on October 15, 2023, the Court DENIES the Motion for the

reasons set forth below.

      I.    Background

      On April 18, 2020, Plaintiff became involved in a business dispute with

a Clayton County Sheriff’s deputy related to the performance of landscaping

services at the deputy’s home in Butts County, Georgia. The dispute escalated

to the two cursing at each other, threats of violence from Plaintiff, the police

being called, and Plaintiff being asked to leave the deputy’s property. (Doc. 64-

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2 at 1–2, ¶¶ 1–3; Doc. 65-1 at 1, ¶¶ 1–3). After learning of the dispute, Hill

called Plaintiff on April 23, 2020.1 (Doc. 65-4 at 4–5, Depo. transcript pp. 141–

143).    During the call, Hill identified himself as the Clayton County Sheriff

and told Plaintiff to leave his deputy alone. (Id.) Among other statements,

including profanities between the parties, Plaintiff replied that Hill should tell

his deputy to pay his bill and to “go fuck yourself.” (Id.) Purportedly because

Plaintiff was unsure whether the caller was actually Hill, Plaintiff used

Facetime to call Hill back several times until Hill answered and removed the

mask he was wearing. (Id. at 6–7, Depo. transcript pp. 149–151). After the

Facetime calls, Hill texted Plaintiff warning him not to call or text anymore or

else he would have him arrested. (Id. at 8, Depo transcript pp. 154–155).

Plaintiff responded via text, “so this is Victor Hill correct.” (Id.)

        Although Plaintiff did not call or text Hill again, Hill had a Clayton

County Sheriff’s deputy swear out an arrest warrant against Plaintiff for

harassing communications. (Doc. 65-5 at 1, Trial Transcript pp. 1430-1431;

Doc. 64-4 at 11–12, Trial Transcript pp. 1944–45). Shortly thereafter, Plaintiff

was informed that Hill had a warrant out for his arrest and that he had been

asked to turn himself in to the Clayton County Jail. (Doc. 64-4 at 12, Trial


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  Why Sheriff Hill involved himself in this dispute is a mystery. Neither the Plaintiff nor the
deputy even lived in Clayton County.
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Transcript p. 1944; Doc. 64-2 at 13 ¶¶43-44; Doc. 65-1 at 6 ¶¶43-44). When

Plaintiff failed to respond Hill texted him again, stating “My Deputies are

actively looking for you. We have not and will not agree for you to turn yourself

in when you want to. Turn yourself in today.” (Doc. 65-4 at 8, Depo Transcript

p. 157; Doc. 64-3 at 40). Meanwhile, Hill had sent his heavily armed fugitive

squad to Butts County in an attempt to arrest Plaintiff on the misdemeanor

arrest warrant. (Doc. 64-2 at 12 ¶45; Doc. 65-1 at 6 ¶45; Doc. 64-4 at 12, Trial

Transcript p. 1944; Doc. 64-3 at 28, Depo. Transcript p. 161).

      On April 27, 2020, Plaintiff turned himself to the Clayton County Jail

after having retained a criminal defense attorney and made other

arrangements. (Doc. 64-3 at 30–31, Depo. Transcript pp. 166–67). Clayton

County Jail records indicate that Plaintiff was unarmed, not under the

influence of drugs, and offered no resistance. (Doc. 65-3). Surveillance footage

from the booking area shows Plaintiff interacting with jail personnel amicably,

waiting patiently, and being cooperative and compliant for over forty-five

minutes before Hill arrived and confronted him. (Doc. 66, Intake Video 1 and

Intake Video 2). Nonetheless, upon Hill’s arrival, Plaintiff was immediately

surrounded by law enforcement personnel who forcefully placed him in a

restraint chair at Hill’s direction where he remained for approximately six

hours. (Id.; Doc. 65-5 at 3, Trial Transcript p. 1467). Among other injuries,
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Howell suffered injuries to his wrists and cervical spine as a result of his

punitive restraint. (Doc. 65-4 at 9–12, Depo. Transcript pp. 218–230).

        In addition to ordering Howell to a restraint chair, Hill ordered Howell

be placed on suicide watch, despite Howell never being suicidal. (Doc. 64-2 at

17–18 ¶¶64–65 and 68; Doc. 65-1 at 10–11 ¶¶64–65 and 68; Doc. 65-3).

Plaintiff bonded out the following day after having seemingly remained

compliant and non-threatening during his incarceration at the Clayton County

Jail.


        II.   Legal Standard

        Summary judgment is appropriate only when the pleadings, depositions,

and affidavits submitted by the parties show no genuine issue of material fact

exists and that the movant is entitled to judgment as a matter of law. Fed. R.

Civ. P. 56(c). The court should view the evidence and any inferences that may

be drawn in the light most favorable to the nonmovant. Adickes v. S.H. Kress

& Co., 398 U.S. 144, 158-59 (1970). The party seeking summary judgment must

first identify grounds that show the absence of a genuine issue of material fact.

Celotex Corp. v. Catrett, 477 U.S. 317, 323-24 (1986). The burden then shifts to

the nonmovant, who must go beyond the pleadings and present affirmative




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evidence to show that a genuine issue of material fact exists. Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 257 (1986).


      III.   Discussion

      The Defendant argues that he is entitled to qualified immunity on

Plaintiff’s 14th Amendment § 1983 claim for excessive force. “The defense of

qualified immunity completely protects government officials performing

discretionary functions from suit in their individual capacities unless their

conduct violates clearly established statutory or constitutional rights of which

a reasonable person should have known.” Cottone v. Jenne, 326 F.3d 1352, 1357

(11th Cir. 2003) (quoting Gonzalez v. Reno, 325 F.3d 1228, 1233 (11th Cir.

2003)) (internal quotations omitted). The purpose of qualified immunity is to

allow government officials to perform their discretionary functions without

“the fear of personal liability or harassing litigation[.]” Gilmore v. Hodges, 738

F.3d 266, 272 (11th Cir. 2013) (quoting Lee v. Ferraro, 284 F.3d 1188, 1194

(11th Cir. 2002)). The doctrine protects from suit “all but the plainly

incompetent or one who is knowingly violating federal law.” Id. (citing Lee, 284

F.3d at 1194).

      The first step of the qualified immunity inquiry is to determine whether

the government official was “acting within the scope of his discretionary


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authority when the allegedly wrongful acts occurred.” Gilmore, 738 F.3d at 272

(quoting Terrell v. Smith, 668 F.3d 1244, 1250 (11th Cir. 2012) (citation and

internal quotations omitted)). It is undisputed in this case that Sheriff Hill was

acting within the scope of his discretionary authority as a law enforcement

officer when he ordered Plaintiff strapped into a restraint chair. The burden

therefore shifts to the Plaintiff to establish (1) that Hill’s allegedly wrongful

conduct violated a constitutional right and (2) that the right at issue was

clearly established at the time of the alleged misconduct. Id. (citing Pearson v.

Callahan, 555 U.S. 223, 232 (2009)). Plaintiff argues that Sheriff Hill violated

his 14th Amendment rights by punitively restraining Plaintiff to a chair for

approximately 6 hours, despite his compliant and non-threatening behavior.

      1. Use of Force

      A pre-trial detainee alleging that his rights were violated through the

use of excessive force must show that the force used was “objectively

unreasonable” under the circumstances. Kingsley v. Hendrickson, 576 U.S.

389, 391-92, (2015). To determine whether the force used against a pre-trial

detainee was objectively unreasonable and therefore excessive, the Eleventh

Circuit considers a non-exhaustive list of six factors developed in Kingsley:

      [1] the relationship between the need for the use of force and the amount
      of force used; [2] the extent of the plaintiff's injury; [3] any effort made
      by the officer to temper or to limit the amount of force; [4] the severity of
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      the security problem at issue; [5] the threat reasonably perceived by the
      officer; and [6] whether the plaintiff was actively resisting.

Patel v. Lanier Cnty. Ga., 969 F.3d 1173 (11th Cir. 2020) (citing Kingsley, 576

U.S. at 397). The factors in this case weigh in favor of a finding that Sheriff

Hill’s used of force was objectively unreasonable.

      First, surveillance footage depicting Plaintiff being compliant, non-

threatening, and moving freely uncuffed during the approximately 45-minute

period prior to Sheriff Hill’s arrival belies Sheriff Hill’s argument that there

was a need for the use of force whatsoever. And, when Plaintiff was placed in

the restraint chair for an approximately six-hour period, he was strapped so

tightly that he suffered wounds to his wrists and his hands went numb. Under

these circumstances, the use of force seems grossly disproportionate to any

purported need for the use of force.

      In regard to the second and third factors, Plaintiff suffered lacerations

to his wrists, for which he sought medical treatment. Further, given the extent

of Plaintiff’s injuries and the length of time he was left strapped to the restraint

chair, a reasonable jury could conclude that Defendant made no effort to

temper or to limit the amount of force that was used.

      As to the fourth and fifth factors, non-withstanding Plaintiff’s hostile and

threatening pre-confinement language, there was no need for Plaintiff to be


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strapped to a restraint chair because Plaintiff did not pose a threat during his

confinement.      Instead, Plaintiff voluntarily turned himself in and was fully

compliant with the numerous jailers he interacted with, including Sheriff Hill.

Simply placing Plaintiff in a holding cell, as was done prior to Sheriff Hill’s

arrival, would have been a reasonable alternative. As such, factors four and

five weigh in favor of a finding of excessive force.

      Under binding Eleventh Circuit precedent, “[w]hen jailers continue to

use substantial force against a prisoner who has clearly stopped resisting—

whether because he has decided to become compliant, he has been subdued, or

he is otherwise incapacitated—that use of force is excessive.” Piazza v.

Jefferson Cnty., 923 F.3d 947 (11th Cir. 2019) (quoting Danley v. Allen, 540

F.3d 1298, 1309 (11th Cir. 2008).; see also Ort v. White, 813 F.2d 318, 327 (11th

Cir. 1987) (“A [F]ourteenth [A]mendment violation occurs ... where prison

officers continue to employ force or other coercive measures after the necessity

for such coercive action has ceased”). Based on the foregoing, the Court finds

that a reasonable jury could conclude that the amount of force used at the

direction of Sheriff Hill was objectively unreasonable under the circumstances

and, therefore, excessive in violation of the Fourteenth Amendment’s due

process clause.



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      2. Whether the law governing the circumstances was clearly
         established.

      A plaintiff can demonstrate that a constitutional right was clearly

established by several different means:

      First, the plaintiff can point to a materially similar case decided at the
      time of the relevant conduct by the Supreme Court, the Eleventh Circuit,
      or the relevant state supreme court....The prior case law need not be
      directly on point, but existing precedent must have placed the statutory
      or constitutional question beyond debate. Second, the plaintiff can
      identify a broader, clearly established principle that should govern the
      novel facts of the situation. Third, the plaintiff can show that the conduct
      at issue so obviously violated the Constitution that prior case law is
      unnecessary.

J W ex rel. Williams v. Birmingham Bd. of Educ., 904 F.3d 1248, 1259-60 (11th

Cir. 2018) (internal quotation marks and citations omitted; emphasis

supplied). To demonstrate that a right was “clearly established” by materially

similar precedent, Plaintiff must point to a precedent wherein “the factual

scenario that the official faced” is not “fairly distinguishable from the

circumstances facing a government official in a previous case.” Loftus v. Clark-

Moore, 690 F.3d 1200, 1204 (11th Cir. 2012). (citation and internal quotation

marks omitted). Here, Plaintiff points to and the Court finds the unpublished

opinion in Shuford v. Conway, 666 F. App’x 811 (11th Cir. 2016) as being a

materially similar case.




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    The Court notes, however, that Shuford is an unpublished opinion and

that the Court may only look to binding authority as “materially similar

precedent” in determining whether the law governing the circumstances was

clearly established at the time of the alleged violation. See Coffin v. Brandau,

642 F.3d 999, 1013 (11th Cir. 2011) (“Our Court looks only to binding

precedent—cases from the United States Supreme Court, the Eleventh Circuit,

and the highest court of the state under which the claim arose—to determine

whether the right in question was clearly established at the time of the

violation”). However, the issue of whether Shuford’s unpublished status

renders it ineligible for use as “materially similar” precedent is not dispositive

here. As demonstrated in Shuford, the second method for showing that the law

was “clearly established” also applies to facts of the instant case.

    Under the second method, a broad statement of principle within the

Constitution, a statute, or case law can provide the basis for determining that

a constitutional right is “clearly established.” J W ex rel. Williams, 904 F.3d at

1259. The Eleventh Circuit has “long made clear that ‘[p]rison officials step

over the line of constitutionally permissible conduct if they use more force than

is reasonably necessary in an existing situation.’” Shuford, 666 F. App’x at 817

(citing Ort v. White, 813 F.2d 318, 325 (11th Cir. 1987)). See also Danley v.

Allen, 540 F.3d 1298, 1309 (11th Cir. 2008) (“When jailers continue to use
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substantial force against a prisoner who has clearly stopped resisting—

whether because he has decided to become compliant, he has been subdued, or

he is otherwise incapacitated—that use of force is excessive”); Piazza v.

Jefferson Cty., Alabama, 923 F.3d 947, 953 (11th Cir. 2019) (“[O]ur decisions

make one thing clear: ‘Once a prisoner has stopped resisting there is no longer

a need for force, so the use of force thereafter is disproportionate to the need’”)

(citing Danley, 540 F.3d at 1309) (emphasis added).

      Furthermore, in Piazza, a case involving the question of whether the

defendant was on notice that the use of a taser constituted force, the court held:

      To be clear, it is no answer to say that Danley involved pepper spray,
      Skrtich kicks and punches, Williams four-point restraints, etc.—and
      that none of those cases concerned the use of a taser specifically. It’s true,
      of course, that to defeat qualified immunity a rule must be specific
      enough that an act’s unlawfulness "follow[s] immediately from the
      conclusion that the rule was firmly established," Wesby, 138 S. Ct. at 590
      (citation omitted). But we have never suggested that the longstanding
      prohibition on a jail officer’s use of force on an incapacitated detainee
      turns on as fine a point as the particular weapon deployed.

Piazza, 923 F.3d 947 (11th Cir. 2019). Accordingly, the Court finds that the law

was clearly established and that Sheriff Hill was on notice that the use of force,

including the use of a restraint chair, against a non-resisting pretrial was

constitutional violation.




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    In this case, Plaintiff has presented evidence that the Defendant ordered

him from a holding cell at a time when he was not resisting or displaying any

sort of threatening behavior and, despite the fact that there was no need to do

so, Defendant employed substantial force against Plaintiff by having him

tightly restrained to a chair for approximately six hours. Applying the

principles from the long-standing precedent referenced above and viewing the

evidence in the light most favorable to Plaintiff, the Court finds that Plaintiff

has demonstrated a triable claim on a violation of clearly established law

sufficient to defeat qualified immunity.     Qualified Immunity is therefore

denied.

      IV. Conclusion

      For the reasons stated above, it is hereby ORDERED that Defendant

Victor Hill’s Motion for Summary Judgment [Doc. 64] is DENIED.



            SO ORDERED, this 27th day of November, 2023.




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